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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

JERRY G. GARCIA,                             )    Case No. 2:17-cv-00410-JTM-JEM
                                             )
           Plaintiff,                        )    JUDGE JAMES T. MOODY
                                             )
vs.                                          )
                                             )
DISH NETWORK, L.L.C.,                        )
                                             )
           Defendant.                        )

                         AGREED STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, JERRY G.

GARCIA, and the Defendant, DISH NETWORK, L.L.C., through their respective counsel, that

the above-captioned case be dismissed without prejudice with leave to reinstate through June 28,

2018. After June 28, 2018, the dismissal shall become with prejudice, with each party to bear its

own costs and attorney fees.
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Date: June 14, 2018                               Respectfully submitted,

/s/ Eric L. Zalud                                 /s/ Nathan C. Volheim
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of June, 2018, the foregoing AGREED

STIPULATION OF DISMISSAL was filed electronically with the Clerk of Court using the

CM/ECF system. Notice of this filing will be sent to counsel for all parties by operation of the

court’s electronic filing system.


                                                   /s/ Nathan C. Volheim
                                                   Nathan C. Volheim
                                                   Attorney for Plaintiff




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